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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


In Re:                                        )
                                              )
Lewis E. Wilkerson, Jr.,                      )
                                              )
                        Debtor                )
                                              )
ROBERT E. DIXON,                              )                    Case Number: 20-34576-KLP
Individually and Derivatively on behalf of    )
D.E.R. LLC                                    )                     Ch. 11
                                              )
                        Plaintiff             )
v.                                            )
                                              )                     Adversary Proceeding
LEWIS E. WILKERSON, JR.                       )
                                              )                     No. 21-03008 - KLP
                        Defendant.            )
_____________________________________________ )

                                    ORDER OF CONTINUANCE


         This day came the Defendant, Lewis E. Wilkerson, Jr., by counsel, and your Plaintiff, Robert E.

Dixon, by counsel, and

         WHEREAS the parties are in agreement that the trial scheduled for September 14, 2021 be

continued, is hereby ADJUDGED, ORDERED and DECREED as follows:

         1. Trial of this matter is continued to October 27, 2021 at 11:00 a.m. and October 28, 2021 at

             10:00 a.m.

         2. Discovery shall remain closed. Additional pretrial dates shall be calculated using the new trial

             date.

         3. On or before 14 days prior to the Trial Date, counsel for the partiesshall file with the Clerk

             a list of proposed exhibits and the proposed exhibits. The exhibits shall be filed in accordance

             with the attached instructions which are hereby incorporated and made a part of this order.
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          4. Objections to any of the proposed exhibits shall be filed on or before 7 days prior to the Trial

              Date. Exhibits to which no timely objection has been made will stand as admitted into

              evidence.

          5. Counsel for Plaintiff shall file a list of witnesses in accordance with Rule 7026(a)(3)(A) of

              the Federal Rules of Bankruptcy Procedure that Plaintiff intends to call to testify at trial on or

              before 14 days prior to the Trial Date; and counsel for Defendant shall file a list of witnesses

              in accordance with Rule 7026(a)(3)(A) of the Federal Rules of Bankruptcy Procedure that

              Defendant intends to call at trial not later than 10 days prior to the Trial Date. Counsel for

              Plaintiff may file a list of rebuttal witnesses on or before 7 days prior to the Trial Date.


                                                            /s/ Keith L Phillips
      ENTER: Sep 7 2021                                      ___________________________________
                                                                   Hon. Keith L. Phillips, Judge


                                                            Entered On Docket: Sep 7 2021
I ask for this:


    /s/        Robert A. Canfield_______
Robert A. Canfield, VSB No. 16901
Canfield Wells, LLP
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Richmond, VA 23228
Phone: (804) 673-6600
Fax: (804) 673-6604
Email: bob@cwkllp.com
Counsel for Defendant


SEEN AND AGREED:


    /s/      W.R. Baldwin, III (via E-mail dated 9.2.21)
W. R. Baldwin, III, Esq.
Meyer Baldwin, Long & Moore, LLP
5600 Grove Avenue, Richmond, VA 23226
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Co-Counsel for Plaintiff


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   /s/ William F. Seymour, IV (via E-mail dated 9.2.21)
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901 East Cary Street
Richmond, VA 23219
Telephone: (804) 697-5100
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Email: wseymour@fgb.com
Co-Counsel for Plaintiff


Seen:


    /s/ Jason B. Shorter (via E-mail dated 9.2.21)
Jason B. Shorter, Trial Attorney
Shannon F. Pecoraro, Trial Attorney
Kathryn R. Montgomery, Assistant United States Trustee
Office of the US Trustee
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Richmond, VA 23219




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